Case 2:21-cv-00563-JNW   Document 471-11   Filed 06/26/25   Page 1 of 5




             EXHIBIT 11
             Case 2:21-cv-00563-JNW        Document 471-11           Filed 06/26/25       Page 2 of 5




From:                         AAA Cheryl Florio <CherylFlorio@adr.org>
Sent:                         Monday, March 24, 2025 4:17 PM
To:                           'Gary Mason'; Theo Bell; Danielle Perry; Mari Gribble; McInerney, Colm P (NYC); McTigue
                              Jr., Michael W (NYC); Slawe, Meredith C (NYC); AAAFiling@valvesoftware.com; Jacob
                              Eisenberg
Cc:                           AAA Cheryl Florio
Subject:                      [Ext] Individual Claimants v. Valve Corporation - Case 01-23-0005-8758
Attachments:                  2025 03 24 AAA Request for Case Management Fees Valve 14,911 filed by Mason
                              LLP.xlsx; Invoice - 2025-03-24 - Individual Claimants v Valve Corporation.pdf



Dear Counsel,

This will confirm an Administrative Conference was held on March 20, 2025. Gary Mason and Theodore
Bell were present for the Individual Claimants, Michael McTigue and Colm McInerney were present for
Respondent Valve Corporation.

We understand Respondents have requested AAA to close these cases, and that Claimants have
opposed that request. Inasmuch as AAA has determined the filing requirements for these cases have
been met, any requests to close these matters are properly directed to arbitrators.

Regarding the 14,911 cases listed on the attached spreadsheet, at this time we are requesting
Respondent’s AAA Case Management Fees totaling $20,875,400.00 (or $1,400 per case). Respondent’s
invoice is attached here. Please refer to the attached spreadsheet for the individual cases and
corresponding locale states.

       As some of these arbitrations are subject to California Code of Civil Procedure (“CCCP”) Section
        1281.98, we are providing the attached invoice in accordance with that statute. Payment is due
        upon receipt and must be paid by 30 days from the Due Date provided on the attached invoice or
        the AAA will close the parties’ case. If the payment deadline falls on a weekend or holiday,
        payment must be paid by the following business day under CCCP Section 12a. Pursuant to CCCP
        Section 1281.98, the AAA cannot extend this payment deadline.

As discussed during the call with regards to the remaining 5,000 cases, Claimants will submit a
statement of issues to be raised to a Process Arbitrator on or before March 28, 2025 and Respondent will
submit a response on or before April 4, 2025.

Sincerely,


         AAA Cheryl Florio
         Director of ADR Operations




                                                       1
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         American Arbitration Association
         T: 401 431 4779 F: 866 644 0234 E: CherylFlorio@adr.org
         16 Market Square 1400 16th Street, Suite 400, Denver, CO 80202
         adr.org | icdr.org | aaaicdrfoundation.org

The information in this transmittal (including attachments, if any) is privileged and/or confidential and is intended only f
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or on behalf of the intended recipient. If you have received this transmittal in error, please notify me immediately by rep
email and destroy all copies of the transmittal. Thank you.




                                                         2
           Case 2:21-cv-00563-JNW                     Document 471-11                 Filed 06/26/25               Page 4 of 5
                                                                                                                       Invoice Date
                                                                                                                       24-Mar-2025
                                                                                                                     Invoice Balance
                                                                                                                      $20,875,400.00
                                                                                                                          Case #
                                                                                                                  01-23-0005-8758-2-CF
                                                                                                               Case Manager: Cheryl A Florio
                                                                                                                   CherylFlorio@adr.org
                                                                                                                    Pay PIN: 12064994
                                                                                                 Unless instructed otherwise, invoice balance due upon receipt.


                                                                 Invoice
Michael W. McTigue Jr., Jr., Esq.                                      Representing: Valve Corporation
Skadden, Arps, Slate, Meagher & Form,
LLP                                                                              Re: Individual Claimants
One Manhattan West
                                                                                     Vs.
New York, NY 10001
                                                                                     Valve Corporation




 Bill Line Date      Bill Line #        Description                                                                             Due Date               Amount
 24-Mar-2025         14237774           Case Management Fees                                                                 24-Mar-2025         $20,875,400.00
                                        Net Due Amount                                                                                           $20,875,400.00




       Corporate Address and Tax ID: American Arbitration Association, 120 Broadway, 21st Floor, New York, NY 10271, EIN: XX-XXXXXXX
          Case 2:21-cv-00563-JNW                     Document 471-11                 Filed 06/26/25               Page  5 of 5
                                                                                                                    Invoice Date
                                                                                                                      24-Mar-2025
                                                                                                                    Invoice Balance
                                                                                                                     $20,875,400.00
                                                                                                                         Case #
                                                                                                                 01-23-0005-8758-2-CF
                                                                                                              Case Manager: Cheryl A Florio
                                                                                                                  CherylFlorio@adr.org
                                                                                                                   Pay PIN: 12064994
                                                                                                Unless instructed otherwise, invoice balance due upon receipt.




                                                     Payment Options

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To pay with a credit card or eCheck online, go to www.adr.org, click on "File or Access your Case" and then
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where permitted by law, a 2.6% processing fee will be assessed on payments made by credit card; all such
processing fees are non-refundable, regardless of whether AAA fees or compensation or expense deposits are
later refunded in full or in part. Please note that we no longer accept the American Express card. There is no
processing fee for payments made by echeck or debit cards.

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For active cases: send to your AAA case representative and corpfinance@adr.org
For new filings (where your case number is not known): send to casefiling@adr.org and corpfinance@adr.org

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      Name of Bank: Bank of America
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      Swift Code/BIC: BOFAUS3N

Note: Please take steps to ensure that your bank does in fact wire the entire amount to our account. From time
to time, certain banks will keep a portion of the wire transfer for their own service fee, leaving a balance due to
the AAA/ICDR.

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